Case No. 1:19-cv-00874-RBJ-MEH Document 590-3 filed 11/29/21 USDC Colorado pg 1
                                    of 85




                        Exhibit II
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg1 2of
                                       of84
                                          85




                      EXHIBIT C
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg2 3of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                          Page 1

   1                                   UNITED STATES DISTRICT COURT
   2                                   FOR THE DISTRICT OF COLORADO
   3
   4
                 WARNER RECORDS INC. (F/K/A                      )
   5             WARNER BROS. RECORDS, INC.), ET )
                 AL.,                                            )
   6                                                             )
                                PLAINTIFFS,                      )
   7                                                             ) CASE NO.
                                 VS.                             ) 19-cv-00874
   8                                                             ) RBJ-MEH
                 CHARTER COMMUNICATIONS, INC.,                   )
   9                                                             )
                                DEFENDANTS.                      )
  10             ________________________________)
  11
  12
  13                               * * * ATTORNEYS' EYES ONLY * * *
  14
  15                                    REMOTE PROCEEDINGS OF THE
  16                               VIDEOTAPED EXPERT DEPOSITION OF
  17                                          GEORGE STRONG, JR.
  18                                     FRIDAY, OCTOBER 15, 2021
  19
  20
  21
  22             JOB NO.      4848551
  23             REPORTED BY KIMBERLY EDELEN,
  24             CSR. NO. 9042, CRR, RPR.
  25             PAGES 1 - 260

                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg3 4of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                          Page 5

   1      please state your name and the firm you represent.
   2                      MS. GRIGSBY:     Stacey Grigsby of Covington &
   3      Burling representing the plaintiff.                   I'm joined by
   4      Anders Linderot, as well as Elizabeth Archer, also
   5      of Covington & Burling.
   6                      MR. EISEMAN:     David Eiseman from Quinn
   7      Emanuel on behalf of defendant Charter
   8      Communications.         With me is Dylan Scher, and I
   9      believe my colleague Todd Anten may join later.
  10                      THE VIDEOGRAPHER:         Thank you.
  11                      THE REPORTER:      Do the parties stipulate the
  12      court reporter may swear in the witness remotely?
  13                      MR. EISEMAN:     Yes.
  14                      MS. GRIGSBY:     Yes.
  15                      THE REPORTER:      Mr. Strong, would you raise
  16      your right hand, please.
  17                      You do solemnly swear the testimony you're
  18      about to give shall be the truth, the whole truth
  19      and nothing but the truth?
  20                      THE WITNESS:     I do.
  21                      THE REPORTER:      Thank you.
  22
  23                                      EXAMINATION
  24      BY MS. GRIGSBY:
  25            Q         Good morning, Mr. Strong.

                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg4 5of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                        Page 26

   1      discussed, are there any other cases where you
   2      provided testimony concerning the cost to the music
   3      industry of unlawfully downloaded music?
   4            A         Can I -- can I have that back again.
   5      Something about the music industry confused me.
   6            Q         Sure.
   7                      So other than the cases we discussed, are
   8      there other cases where you testified about the cost
   9      or damages to the music industry as a plaintiff of
  10      unlawfully downloading music?
  11                      MR. EISEMAN:     Objection as to form.
  12                      THE WITNESS:     Yeah.       I can't remember --
  13      let me tighten it up a little.
  14                      To the music industry, as either a
  15      plaintiff or a defendant, did I address any issues
  16      of damages in the music industry, and I can't
  17      remember any as I sit here, no.
  18      BY MS. GRIGSBY:
  19            Q         And my question was a little bit more
  20      narrow, which is testifying about the music industry
  21      as a plaintiff or defendant, the issue of damages
  22      where there was an allegation that there was
  23      unlawfully downloaded music.
  24                      MR. EISEMAN:     Objection as to form.
  25                      THE WITNESS:     Yeah.       That's got to be

                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg5 6of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                        Page 27

   1      compound.
   2                      But the -- yeah, I don't remember, again,
   3      to either a plaintiff or defendant in the music
   4      industry addressing damages, as you say costs.                       But
   5      that could well be the case because, as I think I
   6      testified earlier, this -- the resume is intended to
   7      represent those cases that are ripened to an event
   8      of testimony, either deposition, trial, et cetera.
   9      So I could have been engaged.
  10                      I mean, I live in Los Angeles, sort of the
  11      entertainment capital of the world, and I could have
  12      been engaged to address that issue without actually
  13      ending in testimony.            So with that caveat, I can't
  14      remember any.
  15      BY MS. GRIGSBY:
  16            Q         And in any of these cases, have you
  17      provided testimony about what policies internet
  18      service providers should adopt to try to prevent
  19      online piracy?
  20            A         No.   That would be outside my purview.                I
  21      mean, I'm a damages witness, so I generally address
  22      economic impacts of certain actions and related
  23      issues along the lines of that financial impact.
  24                      What you're describing is what I will term
  25      a liability issue, and I don't address liability

                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg6 7of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                        Page 28

   1      issues.
   2




                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg7 8of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                        Page 29

   1




                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                             Filed filed
                                                    11/15/21
                                                         11/29/21
                                                               USDC
                                                                  USDC
                                                                    Colorado
                                                                        Colorado
                                                                              Pagepg8 9of
                                       of84
                                          85

                                   ATTORNEYS' EYES ONLY

                                                                        Page 32

   1




                                     Veritext Legal Solutions
       www.veritext.com                                                     888-391-3376
Case
Case 1:19-cv-00874-RBJ-MEH
     No. 1:19-cv-00874-RBJ-MEH
                            Document
                               Document
                                     547-4590-3
                                             Filedfiled
                                                    11/15/21
                                                        11/29/21
                                                               USDC
                                                                 USDC
                                                                    Colorado
                                                                       Colorado
                                                                              Page
                                                                                 pg910
                                                                                     of
                                      of84
                                         85

                                   ATTORNEYS' EYES ONLY

                                                                       Page 33

   1




   7            Q         Have you received payments directly or
   8      indirectly from companies in the music industry?
   9            A         I think the answer to that is no.
  10      Although, because while I have been engaged by
  11      people in the music industry, LimeWire is one we
  12      mentioned, that compensate -- they compensated
  13      Pricewaterhouse at the time, and I was paid a salary
  14      that really wasn't dependent directly on that
  15      particular case.
  16                      So in an indirect fashion, I, you know,
  17      could have received compensation attributable to the
  18      industry.         But, again, that would have been my role
  19      as a partner.
  20            Q         And I want to talk a little bit about your
  21      expertise.
  22                      Do you consider yourself an expert in
  23      copyright law?
  24            A         No.   Well, let me be clear.         Even though I
  25      have, you know, a license to practice law in

                                    Veritext Legal Solutions
       www.veritext.com                                                    888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1011of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 34

    1      California, I don't practice law in this
    2      environment.         And none of my opinions should be
    3      deemed to be the practice of law.
    4            Q         Do you consider yourself an expert in the
    5      cable and ISP industry?
    6            A         No, not per se.       I mean -- the answer is
    7      no, I don't consider myself -- I'm a damages expert,
    8      basically.         And industry expertise I generally leave
    9      almost always to others unless it gets -- well, I
  10       can't think of an exception, so...
  11             Q         Do you consider yourself an expert in
  12       consumer behavior?
  13             A         Not as that phrase is used as a defined
  14       subset of a marketing discipline, no, I don't.
  15             Q         Do you consider yourself an expert in the
  16       music industry?
  17             A         Per se, no, I don't.
  18             Q         Do you consider yourself to be an expert in
  19       peer-to-peer file sharing?
  20             A         Well, as you know, I've had some experience
  21       with that circumstance in the LimeWire case in
  22       particular, but I don't consider myself an expert in
  23       that industry, no.
  24             Q         So you do not consider yourself to be an
  25       expert in peer-to-peer file sharing; is that right?

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1112of
                                        of84
                                           85

                                     ATTORNEYS' EYES ONLY

                                                                          Page 35

    1             A        As an industry, no, I don't.
    2             Q        Have you published any papers, articles or
    3      other writings on the music industry?
    4             A        No, I don't think so.
    5             Q        Have you -- sorry.          I didn't mean to
    6      interrupt.
    7             A        No.    That's okay.       It takes me a little
    8      longer to formulate a thought, you know.
    9             Q        Oh, it's fine.       And it's a little bit tough
  10       online because, you know, there's no physical cue
  11       when someone is about to speak.
  12              A        That's true.
  13              Q        Have you published any papers, articles or
  14       writings on cable or the ISP industry?
  15              A        No, I have not.
  16              Q        Have you published any papers, articles or
  17       other writings on the telecommunications industry?
  18              A        No, I have not.
  19              Q        Have you published any papers, articles or
  20       other writings on peer-to-peer file sharing?
  21              A        No, I have not.
  22              Q        Have you published anything on copyright
  23       law?
  24              A        Yes.    As it pertains to damages, I
  25       coauthored, I believe, an article in the Litigation

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1213of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 36

    1      Services Handbook on damages in copyright,
    2      trademark, trade secret and maybe we later added
    3      unfair competition, but I don't know.
    4                      But that necessarily involved a look at the
    5      framework for damages witnesses that the law
    6      provides.         So you will see in that article
    7      reference Steven Slootlinen (phonetic) comes to mind
    8      as one of the cases that we cite, but not in the
    9      sense of rendering a legal opinion on its
  10       appropriateness, but as a framework that should be
  11       used by damages witnesses in addressing damages
  12       because the framework is -- is important to
  13       understand to calculate damages that are responsive
  14       to the operative law.
  15             Q         So I just want to refer to Page 19 of your
  16       CV, and that has "Publications" in the header.
  17             A         Okay.
  18             Q         So when you are talking about the article
  19       in the Litigation Services Handbook on damages and
  20       copyright and trademark, trade secret law, is that
  21       one of the publications that is referenced -- the
  22       four publications that is referenced on Page 19 of
  23       your CV?
  24             A         It is.   It's the third one down.
  25             Q         And so that is "Damages Issues of

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1314of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 77

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1415of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 78

    1




  23             Q         Okay.   So it's fair to say that you may
  24       have reviewed Oberholzer-Gee and Pratt independent
  25       of this discussion you had with Dr. Sinnreich,

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1516of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 79

    1      correct?
    2            A         Yeah.   And several -- and several others.
    3                      But, yeah, if we cite them, then I've at
    4      least, you know, looked at them, some in more
    5      cursory fashion than others.                 And you'll see a lot
    6      of the same kinds of articles that he recites are
    7      included in our report as well.
    8                      So I have seen, you know, some of the same
    9      material that he used.
  10             Q         And did you do anything to verify or test
  11       the methodology that Oberholzer-Gee or Pratt used in
  12       their reports or studies?
  13             A         Well, I mean, analytically, probably no.
  14       But, you know, I've reviewed a whole host of these
  15       materials and some are confirming and some aren't.
  16       And to the degree that, you know, not relying on a
  17       single article but, in fact, reviewing several is
  18       confirming of various theses that, yeah, I did that.
  19                       I mean, Dr. Furchtgott-Roth said, you know,
  20       he used a similar technique in that he read
  21       carefully, I mean, some of the reports now.                      So,
  22       yeah, I read other reports.                 And although I don't
  23       regard that as an analytical procedure confirming
  24       what they did, it is either confirming or not in
  25       that they're -- you can see either a consensus or

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1617of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 80

    1      not.
    2                      And there doesn't appear to be much of a
    3      consensus, in other words, and the -- and the
    4      coefficients you put on the three buckets might vary
    5      from what Dr. Sinnreich has concluded.                    Those three
    6      possibilities exist elsewhere in the literature.
    7             Q        And so in terms of reading the articles,
    8      the host of articles concerning the potential
    9      benefit of P2P, again, apart from that, did you do
  10       anything to analyze the methodologies used by the
  11       articles' authors?
  12              A        Yeah, I -- no.       Analytically, I don't think
  13       so.
  14




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1718of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 81

    1




  21             Q         Are you aware of any criticisms by
  22       academics of Oberholzer-Gee's studies and their
  23       methodologies?
  24             A         Yes.
  25                       (Simultaneous cross talk.)

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1819of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 82

    1                      MR. EISEMAN:     Objection as to form.
    2                      THE WITNESS:     Sorry.        Sorry.   Sorry.
    3      Sorry.      I'll let you finish the objection.                  Sorry.
    4                      MR. EISEMAN:     It was just as to form.
    5                      THE WITNESS:     Oh, okay.
    6                      Yeah.   Well, all of them, you know, have
    7      certain flaws, some of them admitted, some of them
    8      not.     And my overarching sort of criticism -- and
    9      it's not a criticism because the focus of their
  10       study was not intended to cover offsetting benefits.
  11                       That's more of an issue for somebody
  12       performing my role in which I have to assess what
  13       the net economic effect of this and what's its
  14       impact on their propensity to buy.
  15                       And so -- but, yeah, I'm aware of the --
  16       sorry.      That was long-winded.              I'm aware of the
  17       criticism of Oberholzer-Gee, yes.
  18       BY MS. GRIGSBY:
  19




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg1920of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 83

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2021of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 84

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2122of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 85

    1




  18             Q         And you mentioned a couple of times prior
  19       court decisions.         Do you consider prior court
  20       decisions that have not been overturned something
  21       that is reliable or confirmation of the way
  22       copyright infringement damages should be analyzed?
  23                       MR. EISEMAN:     Objection as to form.
  24                       THE WITNESS:     Yeah.       That may call for a
  25       legal conclusion, too, in the following sense.

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2223of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 86

    1      Look, I look at either court decisions or things
    2      like this Commerce Department articulation of
    3      factors as providing structure and actually
    4      requirements of a damages claim and what it has
    5      to -- the requirements it must meet; not unlike
    6      Section 504 of the U.S. Code which sets out, you
    7      know, the damages standards to which I have to
    8      adhere in -- in calculating damages.
    9                      So court decisions and -- and, you know,
  10       other articles provide a framework for me.                      I'm not
  11       assessing whether they were, you know, reviewed or
  12       not.     These are court decisions that provide some
  13       framework.
  14                       And it turns out the Colorado decisions are
  15       very confirmatory of the factors and are factors
  16       that are included within.               There are only three of
  17       them, but they're included within the nine from the
  18       white paper.
  19                       So there's a -- a convergence of thought in
  20       terms of what -- what would provide a proportional
  21       remedy in an environment or especially in cases of
  22       multiple works like this one, a rather formulaic
  23       solution articulated by the statutory damages remedy
  24       can be disproportionate to the actual harm or gain.
  25       And that notion is, I think, carried throughout all

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2324of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 87

    1      it.
    2                      Yeah.   Beyond that, they set a framework
    3      for me.         I -- I'm not opining -- you know, certainly
    4      not opining legally one way or the other whether
    5      they're good, bad or indifferent.
    6      BY MS. GRIGSBY:
    7            Q         And you referred just now to Dr. Sinnreich
    8      as a music industry expert; is that right?
    9            A         That's my understanding, yes.
  10             Q         So it's fair to say you're considering him
  11       a music industry expert?
  12             A         Well, he's -- yeah.          His -- his -- he's in
  13       the -- it's probably more internet than it is music,
  14       but he's got some knowledge in the music business as
  15       well.     He studied the P2P file sharing which is in
  16       the music industry.
  17                       I mean, that's what his research was in,
  18       so -- I mean, I have -- yeah.                  Yeah, he's an expert
  19       in a number of fields.
  20             Q         And what led you to the conclusion that
  21       Dr. Sinnreich is an expert in a number of fields?
  22             A         Well, I read -- I read his report.               I read
  23       his resume.         I talked to him.           I -- you know, that's
  24       enough for me.
  25             Q         Did you do anything independently to

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2425of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                          Page 88

    1      analyze the reliability of his conclusions?
    2            A         Well, technically, no, because that wasn't
    3      my charge.         But as I said, I've read -- you know, I
    4      read some of the articles upon which he relies.                        I
    5      read, you know, other reports.
    6                      I mean, his -- his opinions articulated in
    7      his reports come to me in the context of lots of
    8      other material and different people have different
    9      opinions.         But, yeah, I -- based on that, I have no
  10       reason to doubt his expertise as a -- certainly as
  11       an internet analyst and -- and with some music
  12       industry background.
  13             Q         Are you aware of any instances where courts
  14       have excluded in whole or in part Dr. Sinnreich's
  15       testimony on the music industry?
  16             A         I'm not.
  17             Q         Are you aware of any instances where courts
  18       have excluded in whole or in part Dr. Sinnreich's
  19       testimony on the benefit of P2P file sharing?
  20             A         I'm not.
  21             Q         If you were aware that a court had excluded
  22       Dr. Sinnreich's opinions in whole or in part, would
  23       that change your analysis of Dr. Sinnreich's
  24       reliability?
  25                       MR. EISEMAN:      Objection as to form.

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2526of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 89

    1                      THE WITNESS:     I don't see how because, you
    2      know, facts and circumstances dictate opinions in
    3      very particular cases.             And my role is not to
    4      assess, you know, how a court's decision in one case
    5      might have impacted his credibility in this one.                         So
    6      that would be beyond my purview, frankly.
    7      BY MS. GRIGSBY:
    8            Q         Well, if you were aware a court had
    9      excluded Dr. Sinnreich's opinions in whole or in
  10       part, would that change your analysis of the
  11       reliability of Dr. Sinnreich's analyses?
  12                       MR. EISEMAN:     Objection as to form.
  13                       THE WITNESS:     Yeah.       That was confusing.
  14       Can you give me that again or maybe rephrase,
  15       because that was an analysis of his reliability
  16       and --
  17       BY MS. GRIGSBY:
  18             Q         Sure.
  19             A         -- I don't analyze --
  20             Q         Sure.
  21             A         I don't analyze reliability much, so...
  22             Q         Well, if you were aware that a court had
  23       excluded Dr. Sinnreich either in -- Sinnreich's
  24       opinions, either in whole or in part, would you
  25       still feel comfortable relying on his music industry

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2627of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 90

    1      expertise?
    2                      MR. EISEMAN:     Objection as to form and also
    3      asked and answered.
    4                      THE WITNESS:     Yeah.       Again, that -- that
    5      one decision in one particular case on one
    6      particular set of facts wouldn't cause me to, you
    7      know, disregard or -- I just -- I don't see how that
    8      would be important in my relying on his opinion in
    9      this case in this set of facts.
  10       BY MS. GRIGSBY:
  11             Q         And if in this case Dr. Sinnreich's
  12       opinions are found to be either excluded or
  13       unreliable, would that change any of your analyses?
  14                       MR. EISEMAN:     Objection as to form.
  15                       THE WITNESS:     Well, that's a better
  16       question and it might, depending upon what part, you
  17       know, it was -- for example, many of these
  18       assumptions, I tried to gather several forms of
  19       support.         And the primary one is analytically, I
  20       think, it's -- it's reliable because I propose it as
  21       a -- as an element of a damages claim where I can
  22       rely on my own expertise.
  23                       To the degree that I find confirmation from
  24       Dr. Sinnreich, usually I have other forms of
  25       confirmation.         So I'm not sure it's a quinae --

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2728of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 91

    1      sine qua non for my -- in fact, it wouldn't be for
    2      my opinion.         It would depend on, again, the facts
    3      and the -- how narrow the exclusion is and what it
    4      related to and a whole bunch of other things.
    5      BY MS. GRIGSBY:
    6            Q         Well, I mean, if Dr. Sinnreich's opinions
    7      were excluded here, would you have to at least
    8      analyze the support for the 16 footnotes in your
    9      rebuttal report that cite to Dr. Sinnreich?
  10                       MR. EISEMAN:     Objection as to form.
  11                       THE WITNESS:     Well, I might look at what
  12       exactly it was and whether it was germane to the
  13       support that it gave me in the context of all the
  14       other support that I have.                So, yeah, I'd probably
  15       look at it.
  16       BY MS. GRIGSBY:
  17             Q         And if Dr. Sinnreich were excluded here or
  18       some of his opinions were excluded, you would have
  19       to look at least in the context of this case as to
  20       whether you would have to revise the 33 footnotes in
  21       your rebuttal report that rely on Dr. Sinnreich,
  22       correct?
  23                       MR. EISEMAN:     Object -- objection as to
  24       form.
  25                       THE WITNESS:     Well, in an abundance of

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2829of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 92

    1      caution, I would -- I would probably look to see
    2      what impact it had.           It doesn't -- I mean, so, yeah,
    3      I'd probably look.
    4      BY MS. GRIGSBY:
    5            Q         And if Dr. Sinnreich were excluded here,
    6      then your analysis could change, correct?
    7            A         Well, potentially.          It would depend on, you
    8      know, whether other confirming collateral sources
    9      for the footnote, whether the footnote, you know,
  10       was important, whether it's -- a large part of my
  11       report is, shall I say, contextual in nature, and
  12       that's not germane to the -- the actual calculation
  13       from whence my primary opinion flows.
  14                       So, yeah, I -- I mean, I'd look and see
  15       what the nature of it was and what particular
  16       footnote and what it was supporting and it may or
  17       may not impact any opinion.
  18             Q         And just to put a finer point on it, in
  19       your rebuttal report, which is Exhibit 314, you have
  20       176 footnotes; is that correct?
  21             A         I haven't looked, but there are a lot,
  22       yeah.
  23             Q         So, you know, hopefully I haven't missed
  24       one, but let's just call it 180.
  25                       So you have about 180 footnotes, correct?

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg2930of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 93

    1            A         If you represent that, I'll accept it, yep.
    2            Q         So if there are roughly 180 footnotes in
    3      your report and Dr. Sinnreich is cited in 33 of
    4      them, doesn't that mean that if Dr. Sinnreich's
    5      opinion is excluded, that in roughly one-sixth of
    6      the footnotes, you would have to consider whether to
    7      change the support you have, correct?
    8                      MR. EISEMAN:     Objection as to form.
    9                      THE WITNESS:     Yeah, and I don't know that,
  10       you know, a ratio carries with it the significance
  11       of each footnote.          In other words, that implies that
  12       all footnotes are equal and they're not.                     They're
  13       clearly not.
  14                       And if the 33 relate to the more
  15       contextual, you know, aspect of my report, it may be
  16       of little moment in terms of my ultimate conclusion.
  17                       I mean, I would probably look at, if -- if
  18       it were excluded and -- or parts of his testimony
  19       were excluded and parts of it are in a footnote, I'd
  20       look to see where it was.               And if it were something
  21       that were less important, it would have little, if
  22       any, moment.
  23                       If it were not, then -- and it were
  24       addressing something more elemental, then I would
  25       see what other confirmation that I had and whether

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3031of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 96

    1      determined that "works" is to be defined as those
    2      sound recordings and musical compositions, but to
    3      treat the areas or the individual sound recordings
    4      which also incorporate a musical composition as a
    5      single work, then what would be the total and
    6      moreover, what would be the distribution between
    7      those three buckets.            That's sound recordings
    8      without overlaps, musical compositions without
    9      overlaps, and then third, overlaps which treat the
  10       combination as one.
  11             Q         And can you tell me what your methodology
  12       was for determining there was an overlap between a
  13       sound recording and a composition?
  14             A         Yeah.   The simple answer is an
  15       interrogatory response.              I think it's Interrogatory
  16       No. 13.         It's cited.
  17                       And moreover, I think we gave you a
  18       technical appendix which explains the methodology
  19       for not only this, but for the -- the next topic,
  20       which is how do you -- how do you assess the
  21       treatment of albums, if albums are to be regarded as
  22       a single work-in-suit as opposed to the tracks
  23       contained therein.
  24             Q         So the track album, yeah.             I was getting to
  25       that, too.

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3132of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 97

    1                      So Charter's counsel also asked you to
    2      determine the number of works-in-suit if when
    3      treated all songs -- all songs released on an album
    4      registered as a compilation as a single work,
    5      correct?
    6             A        Yeah.   Yeah.    That's better said than I
    7      did.
    8             Q        Well, it is basically what you said in your
    9      Paragraph 21, so...
  10              A        Oh.
  11              Q        Okay.   And so in Footnote 42 you say "I
  12       understand that all songs on an album and registered
  13       as a compilation are to be treated as a single work
  14       for the purposes of awarding statutory damages."
  15                       Again, apart from counsel's direction, what
  16       is that understanding based on?
  17              A        Well, counsel's direct -- I have no
  18       independent reason to do that.                   I mean, I -- as far
  19       as I'm concerned, that's a legal issue, whether --
  20       and I would say feeds into statutory damages.                       I
  21       assume that's where this is going.
  22                       But whether legally, you know, the work is
  23       to be considered one if it combines both is not an
  24       issue that I opined upon or dealt with.                    This is a
  25       calculation performed at the behest of the lawyers.

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3233of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 98

    1            Q         So just to be clear, you are not opining on
    2      what the correct number of works-in-suit are or is
    3      for the purposes of calculating statutory damages in
    4      this case?
    5            A         I -- I'm not.      That's well beyond my
    6      purview.
    7            Q         All right.     So now I would like to look at
    8      Exhibit 3B on your rebuttal report.
    9            A         Oh, rebut -- okay.          I keep forgetting this,
  10       the first one.         Yeah.     Okay.
  11             Q         You got there more quickly than I did.
  12




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3334of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                          Page 99

    1




                                                                               .

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3435of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 104

    1


    3                      MS. GRIGSBY:     Actually, is now a good time
    4      for another just five-minute break?
    5                      THE WITNESS:     Well, anytime.
    6                      MR. EISEMAN:     Fine by me.
    7                      MS. GRIGSBY:     Okay.       Let's take --
    8                      THE VIDEOGRAPHER:         Going off record.         The
    9      time is 10:48 a.m.
  10                   (Off the record from 10:48 - 10:58 a.m.)
  11                       THE VIDEOGRAPHER:         We are back on the
  12       record.         The time is 10:58 a.m.
  13       BY MS. GRIGSBY:
  14




  25

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3536of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 105

    1




  17             Q         Right.   Okay.
  18                       Now, Mr. Strong, do you consider yourself
  19       an economist?
  20             A         Well, I -- as you know, I have an economics
  21       degree from Yale, which has a pretty decent
  22       economics department.            I have an MBA from Harvard
  23       where my area of concentration was managerial
  24       economics.         I use economics as a damages analyst,
  25       which is what I do consider myself to be, but I'm

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3637of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 106

    1      also a certified public accountant, and there are
    2      many aspects of damage claim that require cost
    3      analysis, not -- including this one, and there's
    4      probably more financial analysis involved in damage
    5      claims than anything else.
    6                      So to the degree that I need economics, I
    7      have both an educational and experiential background
    8      in it.      What I do is not what many economists do.
    9      I'm a damages analyst, so I guess I'm an economist
  10       to the extent that I need to be to be a damages
  11       analyst.
  12             Q         Have you published any papers in economic
  13       journals?
  14             A         No, I haven't.
  15             Q         Are you a member of the American Economic
  16       Association?
  17             A         I'm not.
  18             Q         And I know you have been certified as a
  19       public accountant; is that correct?
  20             A         I have, yes.
  21             Q         Are you currently certified as a CPA?
  22             A         I am.
  23             Q         Okay.
  24             A         In California.        No longer in Hawaii, sadly.
  25             Q         Okay.   You offer the opinion in your report

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3738of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 107

    1      that Dr. Furchtgott-Roth's assessment does not
    2      inform a showing of harm to plaintiffs; is that
    3      right?
    4            A         Correct.
    5            Q         And, in particular, do you understand that
    6      Dr. Furchtgott-Roth refers to three attributes of
    7      property?
    8            A         I do.
    9            Q         And those are exclusivity of rights to
  10       choose the use of a resource, right, exclusivity of
  11       rights to services of a resource, and rights to
  12       exchange the resource at a mutually -- at mutually
  13       agreeable terms; is that right?
  14             A         This comes from an economist that he
  15       recites, Dr. Elkins, I remember or something to that
  16       effect, yeah.
  17             Q         Uh-huh.
  18                       And your conclusion is that these
  19       attributes of property are not informative with
  20       respect to harm to plaintiffs from the alleged
  21       infringements by Charter subscribers; is that right?
  22             A         Certainly not within the context of the
  23       damage claim which is what we're doing here.                       Yeah,
  24       no, I'm not.
  25             Q         And how did you reach that conclusion?

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3839of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 108

    1            A         I just looked at them.            In other words, I
    2      refer to that Dr. Furchtgott-Roth referred to the
    3      actual standards of either Section 504 which are the
    4      standards of copyright infringement, one of which is
    5      actual harm.
    6                      And if you want to probe actual harm, you
    7      can look to other literature which would describe a
    8      model that says -- it either compares the actual
    9      world to the but-for world, a world either absent
  10       infringement, or the second possible act is the
  11       nonact of failure to terminate.
  12                       Moreover that -- that harm requires a
  13       causation element from the act to the change in
  14       economic circumstances.              None of those factors has
  15       Dr. Furchtgott-Roth considered.
  16             Q         And is it your understanding that
  17       Dr. Furchtgott-Roth opines on the actual harm and
  18       gains to Charter?
  19             A         No, he does not.        He says it's impossible.
  20             Q         And in your experience as a damages expert,
  21       is there -- are there cases where it is impossible
  22       to construct a but-for world?
  23                       MR. EISEMAN:     Objection as to form.
  24                       THE WITNESS:     Yes, there are.
  25       \\\

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg3940of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 109

    1      BY MS. GRIGSBY:
    2            Q         And what are the circumstances where it
    3      would be impossible to construct a but-for world?
    4                      MR. EISEMAN:     Objection as to form.
    5                      MS. GRIGSBY:     Sorry.
    6                      THE WITNESS:     In some cases, the framework
    7      that we inherit as damages witnesses has been
    8      delineated by legal standards.
    9                      For example, if, in fact, there -- the
  10       easiest one is there -- in establishing causations,
  11       there are -- there are events that are causes in
  12       fact that the law has circumscribed and limited to
  13       proximate cause.         In other words, there is a limit
  14       beyond which the law will not allow damages to look.
  15                       Like are you -- there are cases, you know,
  16       describing proximate cause ad nauseam.                    As damages
  17       witnesses, we don't opine on the appropriateness of
  18       that.     We inherit those.           They delineate it.
  19                       We're also subject to a requirement of
  20       reasonable but not perfect certainty in terms of
  21       calculating.         So there might well be damages that
  22       exceed either the proximate cause limit or exceed
  23       the reasonable certainty limit that you could tie
  24       under a cause in fact, otherwise known as but-for
  25       causation, that the law has circumscribed, has said

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4041of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 139

    1      and that could be bigger.                I mean, I -- percentage
    2      is what I'm focusing on here, not the absolute
    3      value, A.         And B, again, this is contextual.                It has
    4      nothing to do with the calculation of damages or
    5      harm that I provided.
    6            Q         And here I should -- yes, I'm focusing on
    7      percentage for my questions here.
    8            A         Okay.
    9            Q         I'm not talking about aggregate.              So I
  10       mean, I think the question really is that you're
  11       using 3 percent here.             Are you using it to show that
  12       a significant percentage of consumers are consuming
  13       music and discovering music through P2P or are you
  14       using it to show it's a very small number -- a small
  15       percentage of consumers?
  16             A         Oh.     Well, the suggestion of the adjective
  17       "only" would -- would infer, at least, that it's
  18       relatively small.            And I think that's a static
  19       number.         And the -- the real question is it's been
  20       declining.            The dynamic aspect is probably more
  21       important than the absolute number.
  22                       But to your question, I think 3 percent is
  23       relatively small, so compared to the 97 percent of
  24       other uses, yeah.
  25             Q         And is it your understanding that music

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4142of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 140

    1      consumption is different than music discovery, as
    2      used here?
    3             A        Well, that's what it says.            I can't tell
    4      you offhand.          Unless it's an indication of people
    5      who respond to a survey as to what they'd like to
    6      see.       Yeah, I don't know that I made that
    7      distinction.
    8             Q        And may -- I guess a better question is,
    9      what do you understand music consumption and
  10       discovery to mean, as used here in Paragraph 20 of
  11       your report?
  12              A        Oh.   That their overall use, whether they
  13       discovered music and didn't consume it or consumed
  14       it without discovery, I didn't make a distinction.
  15              Q        And do you consider Nielsen a reliable
  16       source of information here?
  17              A        Well, I have -- I have no understanding of
  18       Nielsen -- Nielsen's reputation nor need -- and
  19       seeing, you know, are reliable enough to cite, so
  20       that's all I know about it.
  21              Q        And if this number, the 3 percent, were
  22       inaccurate, would your contextual statement in
  23       Paragraph 20 change?
  24                       MR. EISEMAN:     Objection as to form.
  25                       THE WITNESS:     I don't think so.           I mean,

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4243of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 141

    1      primarily, as I said, Dr. Sinnreich said this and I
    2      think if we didn't get it from his report, we found
    3      it in some other way.
    4                      There's a lot of support for the notion
    5      that P2P file sharing was being reduced throughout
    6      this period of time as people discovered other
    7      sources of music.            I mean, streaming and ad-based
    8      subscriptions have revolutionized the business, even
    9      in the '13 through '16 period of time.                    So I
  10       don't -- I mean, this one cite wouldn't probably
  11       change that contextual statement, not opinion.
  12       BY MS. GRIGSBY:
  13             Q         And why are you citing Nielsen here?                Why
  14       did you decide to cite Nielsen here?
  15             A         I think we found it appeared to be
  16       consistent with what Dr. Sinnreich concluded, and,
  17       other than that, I couldn't tell you.
  18             Q         Have you seen any other sources that
  19       indicate that the 3 percent number from Nielsen
  20       applies just to music discovery?
  21             A         I haven't.
  22                       MS. GRIGSBY:     Can we pull up Tab 14, which
  23       I guess would be Exhibit 318.
  24                       THE WITNESS:     3- --
  25                       MS. GRIGSBY:     Oh, it's not up yet.            We're

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4344of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                           Page 142

    1      going to try to pull this up in Exhibit Share.
    2                                (Deposition Exhibit 318
    3                            was marked for identification.)
    4                      THE WITNESS:         Is this in my report?
    5      BY MS. GRIGSBY:
    6            Q         No.     I'm pulling up, I think, the Nielsen
    7      report that you cite --
    8            A         Oh.
    9            Q         -- as Exhibit 318.
  10             A         Okay.     And that's 317?
  11             Q         No.     318.    So it hasn't loaded yet.            It's
  12       coming.
  13             A         Oh, okay.       Sorry.
  14             Q         Are you able to see it yet, Mr. Strong?
  15             A         No.     Let's see.        Oh, here it is.        Okay.     I
  16       got it.
  17             Q         So, Mr. Strong, I'm showing you what's been
  18       marked as Plaintiffs' Exhibit 318.                        Is this the
  19       "Nielsen Music Year-End Report" that you reviewed
  20       for your rebuttal report?
  21             A         I think so.
  22             Q         Okay.     And then I just want to direct you
  23       to Page 23, I believe.
  24             A         Okay.     I'm at 23.
  25             Q         So are you relying on this graphic in the

                                          Veritext Legal Solutions
        www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4445of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 179

    1




    5      BY MS. GRIGSBY:
    6            Q         Okay.     Let's look at Exhibit 315, which is
    7      your second rebuttal report.                  All right.     So I'm
    8      looking at paragraph -- I think it is 5.b -- I'm
    9      sorry.      6.b.
  10             A         Paragraph 6.
  11             Q         b on Page 2.
  12             A         Oh, okay.
  13             Q         Uh-huh.
  14             A         Uh-huh.
  15




  24             Q         Did I read that correctly?
  25             A         Yes.

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4546of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 180

    1




  19                       MR. EISEMAN:     Objection as to form.
  20                       MS. GRIGSBY:     Yeah.
  21       BY MS. GRIGSBY:
  22             Q         You can answer.
  23




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4647of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 181

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4748of
                                        of84
                                           85



                                                                        Page 182




    5            Q         Uh-huh.
    6            A         Okay.
    7                      MR. EISEMAN:     Oh, to the extent part of
    8      your next question is going to be about whether he's
    9      testified about it or not, I'm going to object.                        So
  10       maybe you should just ask a different question
  11       without it relating.
  12                       MS. GRIGSBY:     No.      Wait for the question
  13       and then you'll -- then you can decide whether you
  14       want to object or not.
  15                       MR. EISEMAN:     Right.
  16                       MS. GRIGSBY:     Okay.       So --
  17                       MR. EISEMAN:     Well --
  18                       MS. GRIGSBY:     Yeah.       Just wait for the
  19       question and you can decide whether you want to
  20       object or not.
  21       BY MS. GRIGSBY:
  22




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4849of
                                        of84
                                           85



                                                                        Page 191




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg4950of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 192

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5051of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 193

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5152of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 194

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5253of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 195

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5354of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 196

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5455of
                                        of84
                                           85



                                                                        Page 197




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5556of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 198

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5657of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 199

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5758of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 200




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5859of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 201




  13                      MS. GRIGSBY:      Is now a good time for
  14      another ten-minute break?                I don't know if we've
  15      been going an hour, but it feels like it.
  16                      MR. EISEMAN:      We've been going an hour and
  17      12 minutes, so this would be a good time.
  18                      MS. GRIGSBY:      Not that you've been
  19      counting, right?
  20                      MR. EISEMAN:      I've got a clock in front of
  21      me.    I have this little clock on my computer.
  22                      THE VIDEOGRAPHER:          Shall I go off the
  23      record?
  24                      MS. GRIGSBY:      Yes, please.         Sorry.
  25                      THE VIDEOGRAPHER:          Going off the record,

                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg5960of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 202

    1      the time is 2:12 p.m.
    2                      (Off the record from 2:12 - 2:26 p.m.)
    3                      THE VIDEOGRAPHER:         We are back on the
    4      record.         The time is 2:26 p.m.
    5      BY MS. GRIGSBY:
    6            Q         Mr. Strong, I was wondering if I could
    7      direct your attention to Page 27 of your rebuttal
    8      report, which is Exhibit 314, and here I'm looking
    9      at Paragraph 74.
  10             A         Okay.
  11             Q         So in Paragraph 74, you say "For
  12       plaintiffs' profit margin, I considered three
  13       potential options:            The first, their average gross
  14       profit margin (i.e.,                   ); second, their average
  15       operating profit margin (i.e.,                        ); and (3), a
  16       Warner Music Group Recorded Music average profit
  17       margin (i.e.,                )."
  18                       Do you see that?
  19             A         I do.
  20             Q         In order to estimate plaintiffs' profit per
  21       track, are you using the                     percent profit margin?
  22             A         Yes, as is evidenced, I think, in...
  23             Q         The next sentence.
  24             A         Oh, sorry.     Yeah.      In an exhibit -- are you
  25       going to go to an exhibit?

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6061of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 229

    1




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6162of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 230




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6263of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 231




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6364of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 232




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6465of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 233




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6566of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 234




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6667of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 235




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6768of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 236




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6869of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 237




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg6970of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 238




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7071of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 239




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7172of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 240




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7273of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 241




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7374of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 242




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7475of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 243




                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7576of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 244




    9            Q         Okay.     You look a little tired.           Do you
  10       want to take a five-minute break?
  11             A         Sure.
  12                       MS. GRIGSBY:      Okay.
  13                       THE VIDEOGRAPHER:          We're going off the
  14       record.         The time is 3:32 p.m.
  15                       (Off the record from 3:32 - 3:39 p.m.)
  16                       THE VIDEOGRAPHER:          We're back on the
  17       record.         The time is 3:39 p.m.
  18       BY MS. GRIGSBY:
  19             Q         Mr. Strong, I want to look again at your
  20       second rebuttal report which is Exhibit 315.
  21             A         Okay.
  22             Q         Okay.     In your second rebuttal report on
  23       Page 8, do you see Table 2?
  24             A         Page 8.     Yeah, the last page, right.
  25             Q         Okay.     So this table is entitled

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7677of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 252

    1      45 percent.         I don't know if that's good -- you
    2      know, I -- that's his conclusion.
    3                      And there are other people who say no, it's
    4      substitutable, and if you sample music, you thus
    5      don't have to buy it.
    6                      Okay.   So that's an open question.
    7      BY MS. GRIGSBY:
    8            Q         But again, I'm curious, what is your basis
    9      for saying that there is any source to show that
  10       people who sampled music went out and bought more
  11       than they otherwise would?
  12             A         Dr. Sinnreich, as I've said before, is one.
  13       And the -- not only based on his own research --
  14                         (Clarification by the Reporter.)
  15                       THE WITNESS:     Sure.
  16                       Yeah.   As I said before, it's
  17       Dr. Sinnreich, and his -- not only his own personal
  18       research but his review of other articles that
  19       address the same question.
  20                       And he says there just is no consensus.
  21       Some say positive.          Some say negative.            And some say
  22       neutral.         So it's a mix.
  23       BY MS. GRIGSBY:
  24             Q         Well, a person who likes music would
  25       probably be more likely to go out and purchase music

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7778of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                         Page 253

    1      than a person who doesn't like music, correct?
    2                      MR. EISEMAN:     Objection as to form.
    3                      THE WITNESS:     I don't -- I don't know that
    4      I have any trouble with that.                  But that -- yeah.
    5      But that having -- I don't see how that fits.                       I
    6      mean, why -- that's true.               Okay.         I can see that,
    7      but...
    8      BY MS. GRIGSBY:
    9            Q         Well, a person who likes music is probably
  10       more likely to use BitTorrent than a person who does
  11       not care about music at all, correct?
  12             A         I don't know that I can say that either,
  13       and I'm the wrong person to ask that.                      That requires
  14       a music industry -- that seems to me at a
  15       professional industry, a music industry background.
  16       And I -- you know, could be people are -- look, I
  17       don't want to speculate because I'm not a music
  18       expert, so...
  19             Q         Well, I don't want you to speculate either,
  20       but I am trying to understand whether a person who
  21       does not like music, you would expect that person to
  22       use BitTorrent to download copyrighted music?
  23                       MR. EISEMAN:     Objection as to form.
  24                       THE WITNESS:     Well, yeah, just intuitively,
  25       I probably wouldn't, but it depends.                      If they --

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7879of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 254

    1      yeah.     I -- again, I'm not here to speculate on
    2      that.     I don't know.
    3      BY MS. GRIGSBY:
    4            Q         I mean, it would be a little bit irrational
    5      to believe that a person who doesn't like music
    6      would be downloading copyrighted music on
    7      BitTorrent, correct?
    8                      MR. EISEMAN:     Objection as to form.
    9                      THE WITNESS:     Well, a lot of people --
  10       look, I'm sure a lot of people didn't like rock
  11       music until they saw the Beatles.                     Who knows.
  12       BY MS. GRIGSBY:
  13             Q         So aside from Dr. Sinnreich, what else are
  14       you relying on to find -- to say that plaintiffs --
  15       without such a conclusion, plaintiffs have suffered
  16       no harm through diverted or lost sales?
  17             A         Well, again, the body of the materials that
  18       he refers to, I have read as well.                     And -- or not
  19       all of them but some of them, which confirm the
  20       notion that -- and most of them just argue about the
  21       magnitude of any harm, and a few of them, including
  22       even some executives in the music industry, have --
  23       have commented that there may be something positive
  24       to this.
  25                       So, you know, there's an entire body of

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg7980of
                                        of84
                                           85

                                      ATTORNEYS' EYES ONLY

                                                                        Page 261

    1      not anywhere in the range of statutory damages, so
    2      you can't include that in the same sentence.
    3                      I'm estimating actual harm and -- and gain
    4      and comparing those in the last chart that I have in
    5      this document, and pointing out that they're quite
    6      different.         And the actual harm and gain, either
    7      one, are dramatically lower than even the minimum
    8      level under calculation and statutory damages.
    9      That's it.
  10             Q         And here, I'm not referring to the harm or
  11       gain.     I am just referring to statutory damages.
  12             A         Okay.    Then I don't -- I mean, they --
  13       well, the minimum is a function of works and it's
  14       true that I can't calculate the statutory minimum --
  15       minima, I should say, under various assumptions in
  16       Table 5 on Page 36.            So that -- and that's just a
  17       calculation, frankly.
  18             Q         Right.     You perform the calculation and
  19       that has to be based on the number of works-in-suit,
  20       correct?
  21             A         Correct.
  22             Q         Now, in Paragraph 44 you say "The enormity
  23       of total potential damages per this formula,
  24       especially in a multiple works situation as we have
  25       here involving an ISP, means that a damages expert

                                       Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg8081of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 262

    1      should make efforts to determine the harm actually
    2      suffered by the plaintiff, including by arriving at
    3      an approximation or range that can reasonably inform
    4      the actual harm at issue."
    5                      Is that what that says?
    6            A         Yes.   No.    You read that correctly.
    7            Q         What's the basis for that opinion?
    8            A         It's a re-articulation of Factor 7 under
    9      the Department of Commerce's white paper that
  10       says -- that basically says the same thing, and that
  11       is that it -- the -- the statutory -- the level of
  12       statutory damages should be commensurate with the
  13       level of actual harm, and it may actually say or
  14       gain.     But that notion is conveyed somewhere.
  15             Q         And towards the end of the report, you
  16       write in Paragraph 98, starts on Page 38.
  17             A         Yes.   I'm there.
  18             Q         "For the third factor, deterrence of a
  19       willful violation, I understand that courts in
  20       Colorado (as well as other jurisdictions) have
  21       awarded statutory damages in cases involving musical
  22       works that are between two and three times license
  23       fees.     I understand that this multiplier would apply
  24       to actual harm, (that is the amount the defendant
  25       would have to pay)."

                                        Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg8182of
                                        of84
                                           85

                                         ATTORNEYS' EYES ONLY

                                                                        Page 263

    1                      Do you see that?
    2            A         Right.
    3            Q         And you call this the three times
    4      deterrence multiplier, correct?
    5            A         I do.
    6            Q         And in this you say cite three primary
    7      cases; is that right?
    8            A         I do.
    9            Q         Are there additional cases that you're
  10       relying on for this understanding?
  11             A         No.     No.    I -- no.         I don't have any.
  12             Q         Okay.     And the three cases you cite for
  13       your -- in your report are where -- for the three
  14       times deterrence multiplier, this is where there was
  15       copyright infringement where someone failed to
  16       obtain an otherwise available license, correct?
  17             A         Yeah.     I think that's the basic fact
  18       pattern.




                                          Veritext Legal Solutions
        www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg8283of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 264




  25                      MS. GRIGSBY:      I actually think I am nearly

                                      Veritext Legal Solutions
       www.veritext.com                                                       888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg8384of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 265

    1      towards the end.         If I could just take five more
    2      minutes off the record, then I think we can probably
    3      wrap up.
    4                      MR. EISEMAN:     Sure.
    5                      THE WITNESS:     Okay.
    6                      THE VIDEOGRAPHER:         Okay.       We're going off
    7      the record.         The time is 4:13 p.m.
    8                      (Off the record from 4:13 - 4:18 p.m.)
    9                      THE VIDEOGRAPHER:         We are back on the
  10       record.         The time is 4:18 p.m.
  11       BY MS. GRIGSBY:
  12             Q         Okay, Mr. Strong.         I just have very few
  13       questions.
  14                       So I am looking at Page 39 and 40 and -- of
  15       your report, which is the distribution analyses of
  16       RIAA notices and works-in-suit across Charter
  17       subscribers.
  18             A         Okay.




                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
Case
 Case1:19-cv-00874-RBJ-MEH
      No. 1:19-cv-00874-RBJ-MEH
                             Document
                                 Document
                                      547-4590-3
                                              Filed filed
                                                     11/15/21
                                                          11/29/21
                                                                USDC
                                                                   USDC
                                                                     Colorado
                                                                         Colorado
                                                                               Pagepg8485of
                                        of84
                                           85

                                    ATTORNEYS' EYES ONLY

                                                                        Page 268

    1      STATE OF CALIFORNIA                  )
    2      COUNTY OF LOS ANGELES                )      ss.
    3
    4              I, Kimberly A. Edelen, C.S.R. No. 9042, in and
    5      for the State of California, do hereby certify:
    6              That prior to being examined, the witness named
    7      in the foregoing deposition was by me duly sworn to
    8      testify the truth, the whole truth and nothing but
    9      the truth;
  10               That said deposition was taken down by me in
  11       shorthand at the time and place therein named, and
  12       thereafter reduced to typewriting under my
  13       direction, and the same is a true, correct and
  14       complete transcript of said proceedings;
  15               That if the foregoing pertains to the original
  16       transcript of a deposition in a Federal Case, before
  17       completion of the proceedings, review of the
  18       transcript { } was {X} was not requested.
  19               I further certify that I am not interested in
  20       the event of the action.
  21               Witness my hand this 20th day of October,
  22       2021.
  23
  24                               <%18551,Signature%>
                                   KIMBERLY A. EDELEN, C.S.R. NO. 9042
  25

                                      Veritext Legal Solutions
        www.veritext.com                                                      888-391-3376
